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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

               v.                                   Case No. 21-CR-00255 (RC)


EMMA CORONEL AISPURO,

                        Defendant.


                           CONSENT ORDER OF FORFEITURE

      WHEREAS on June 10, 2021, the Defendant, Emma Coronel Aispuro, pleaded guilty

pursuant to a plea agreement to a three-count Information charging her with conspiring to

distribute five kilograms or more of cocaine, one kilogram or more of heroin, 500 grams or more

of methamphetamine, and 1,000 kilograms or more of marijuana, knowing, intending, and having

a reasonable cause to believe that such substance would be unlawfully imported into the United

States, in violation of 21 U.S.C. §§ 959(a), 960, and 963 and 18 U.S.C. § 2 (Count One);

conspiring to launder the proceeds of the narcotics offense charged in Count One, in violation of

18 U.S.C. §§ 1956(a)(1)(A)(i) and 1956(h) (Count Two); and engaging in transactions and

dealings in property and interests in property of a foreign person designated a Significant Foreign

Narcotics Trafficker, in violation of 21 U.S.C. § 1903(b), and engaging in transactions and

dealings to evade and avoid, and that had the effect of evading and avoiding, the prohibition on

transactions and dealings in property and interests in property of said foreign person, in violation

of 21 U.S.C. §§1904(c)(1), 1904(c)(2), and 1906(a) (Count Three); and

      WHEREAS pursuant to paragraph five of the plea agreement, the Defendant agreed to

forfeit to the United States, pursuant to 21 U.S.C. §§ 853(a) and 970, her interest in any property

constituting, or derived from, any proceeds of obtained by Defendant as a result of her

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commission of Count One, and any property used to or intended to be used, in any manner or

part, to commit or facilitate Count One. The Defendant acknowledged that she received money

and property that is subject to forfeiture as a result of her violation of 21 U.S.C. §§ 959(a), 960,

and 963 and 18 U.S.C. § 2 as alleged in Count One of the Information. The Defendant has since

consented to forfeit the sum of $1,499,970, in the form of a money judgment; and

      WHEREAS, pursuant to Rule 32.2(b)(1) of the Federal Rules of Criminal Procedure, this

Court determines, based on the evidence and information before it, that any property constituting,

or derived from, any proceeds of obtained by Defendant as a result of her commission of Count

One, and any property used to or intended to be used, in any manner or part, to commit or facilitate

Count One, is subject to forfeiture pursuant to 21 U.S.C. §§ 853(a) and 970;

      WHEREAS, pursuant to Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure, this

Court further determines, based on the record in this matter, including the Information, the Plea

Agreement, the Statement of Facts, the Rule 11 Hearing, and the Government’s Motion for a

Consent Order of Forfeiture, that a forfeiture money judgment against Defendant and in favor of

the United States for the amount of $1,499,970, is appropriate insofar as this property is subject

to forfeiture pursuant to 21 U.S.C. §§ 853(a) and 970;

      WHEREAS, 21 U.S.C. § 853(p) authorizes the forfeiture of substitute property;

      WHEREAS, upon entry of a forfeiture order, Rule 32.2(b)(3) of the Federal Rules of

Criminal Procedure authorizes the Attorney General or a designee to conduct any discovery the

Court considers proper in identifying, locating, or disposing of property subject to forfeiture;

      NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

        1.     That the following property is declared forfeited to the United States, pursuant

to 21 U.S.C. §§ 853(a) and 970: any property constituting, or derived from, any proceeds of


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obtained by Defendant as a result of her commission of Count One, and any property used to

or intended to be used, in any manner or part, to commit or facilitate Count One.

       2.        A forfeiture money judgment in the amount of $1,499,970 is entered against

the Defendant.

       3.        The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Rule 32.2(e) of the Federal Rules of Criminal Procedure.

       4.        The Attorney General or a designee, pursuant to Rule 32.2(b)(3) of the Federal

Rules of Criminal Procedure, is authorized to conduct any discovery to identify, locate, or

dispose of property subject to this Order.

       5.        Any forfeiture payments made by the defendant shall be credited solely to the

forfeiture money judgment ordered in paragraph two of this Order.

       6.        The Clerk of the Court shall forward a certified copy of this Order to the

attorneys of record for the Government.



      Dated this _______ day of November, 2021.




                                             THE HONORABLE RUDOLPH CONTRERAS
                                             UNITED STATES DISTRICT JUDGE




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